         Case No. 1:22-cv-00389-LTB Document 24-8 filed 04/18/22 USDC Colorado pg 1 of 1
                                                                 Exhibit 8
Gmail - ADU size at the Vine Ranch                                         https://mail.google.com/mail/u/1/?ik=252cda9d94&view=pt&search=al...




                                                                                     Kirk Mcdonald <kirkmcdonald56@gmail.com>



         ADU size at the Vine Ranch
         1 message

         Kirk Mcdonald <kirkmcdonald56@gmail.com>                                                       Thu, Jun 10, 2021 at 10:20 AM
         To: Chris OKeefe <cokeefe@co.jefferson.co.us>

           Hi Chris, hope all is well with you and yours.

           So I wrote a while back about the differences for ADU between Jeffco divisions of environment health and your
           division, planning; got no answer.

           So I want to file for an exemption on the size of my ADU from 1200 to 1800 sq ft. The reason is because although
           things are equal between my planned residence of three (3) bedrooms and the single ADU, a total of 4 bedrooms and
           the original plan of four bedrooms. MItch over at environment health now requires that my same septic field be
           planned for 6 bedrooms doubling the size and cost of the septic system because of the ADU.

           I had asked you to resolve this discrepancy but no solution yet.So it's easier of the two solutions is to ask for
           exemption on the size of ADU to fit the size of the septic field required by Mitch.

           Where do I file my request for exemption and to whom?

           Thanks,

           Kirk McDonald




1 of 1                                                                                                                         4/14/2022, 7:49 PM
